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                            UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

UNITED STATES OF AMERICA                             §
                                                     §
V.                                                   §    CASE NO. 6:05CR73
                                                     §
NIKITA COLLIFLOWER BRANDON                           §

             ORDER ADOPTING THE REPORT AND RECOMMENDATION
                 OF THE UNITED STATES MAGISTRATE JUDGE


       By order, the undersigned referred this matter to the Honorable Harry W. McKee, United

States Magistrate Judge, at Tyler, Texas, for administration of a guilty plea under Rules 11 and 32

of the Federal Rules of Criminal Procedure. Judge McKee conducted a hearing in the form and

manner prescribed by Federal Rule of Criminal Procedure 11 and issued his Report and

Recommendation of the United States Magistrate Judge [Clerk’s doc. #46]. The Magistrate Judge

recommended that the Court accept Defendant’s guilty plea and conditionally accept his plea

agreement. He further recommended that the undersigned finally adjudge Defendant as guilty on

Count Two of the Indictment filed against Defendant in this cause.

       The parties have not objected to the magistrate judge’s findings. The Court is of the opinion

that the Report and Recommendation should be accepted. It is accordingly ORDERED that the

Report and Recommendation [Clerk’s doc. #46] of the United States Magistrate Judge are

ADOPTED. Defendant’s guilty plea and the plea agreement are conditionally ACCEPTED by

the Court at this time.




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  .


       It is further ORDERED that, in accordance with Defendant’s guilty plea and the magistrate

judge’s findings and recommendation, Defendant, Nikita Colliflower Brandon, is hereby adjudged

as GUILTY on Count Two of the charging Indictment, conditioned upon the Court’s final

acceptance of the guilty plea and plea agreement at sentencing.


      SIGNED this 5th day of December, 2005.




                                                       ____________________________________
                                                       MICHAEL H. SCHNEIDER
                                                       UNITED STATES DISTRICT JUDGE




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